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EXHIBIT 139
Nexus S 4G Android Ee Samsung Mobile

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Nexus S 4G (Sprint) Android Smartphone

S>

SPH-D720

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OVERVIEW FEATURES SPECS GALLERY REVIEWS ACCESSORIES

First 4G Nexus S Device

Powered By Android 4.1, Jelly Bean

Super AMOLED™ display and contoured screen
SMP rear-facing camera with flash & front-facing

camera

Please check with an authorized Samsung retailer for price information

Product Features See All Features

First 4G Nexus S Device

You've seen the rave reviews of the Nexus S phone.
Now imagine those reviews raving even more, thanks
to this being the first Nexus S built to run on a4G
network.

Premium 4” Touch Screen Device
Powered By Android 4.1, Jelly Bean

Nexus S 4G offers a premium 4" touch screen, which
makes a big difference when it comes to viewing
movies, reading e-books or doing spreadsheets. And
the Android 4.1, Jelly Bean platform is the latest from
Android, with thousands of apps at your fingertips. But
most importantly, this phone is pure Google, so it runs
all Google apps and programs with lightning speed
and stunning smoothness.

Super AMOLED™ Screen Technology
& Contoured Screen Design

Stay ahead of the curve when it comes to screen
technology. The Super AMOLED™ Screen beams
out amazing color and richness, even in bright
daylight. And for comfort, Nexus 5 4G is the
smartphone with the gently curved screen that fits
naturally into your hand and along your face.

5MP Rear-Facing Camera With Flash
& Front-Facing Camera

The 5 MP rear-facing camera takes razor sharp
photos and videos, which are perfect for sharing
with friends on YouTube or Facebook. It also has a
handy flash for low light conditions, so you never
miss a great shot. And the front-facing camera”
lets you video chat with friends all over the world.

http://www.samsung.com/us/mobile/cell-phones/SPH-D720ZKASPR[10/15/2012 2:16:17 PM]

Specifications

Carrier

Sprint

Color

Black / Silver

Platform

Android 4.1, Jelly Bean

Display

Display Size: 4.0”

Display
Display Technology: Super
AMOLED™

Camera
Rear-facing Camera Resolution:
5.0 MP

Camera
Front-facing Camera
Resolution: VGA

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Owner Reviews see a\'

Filed 10/20/12 Page 3of5

Overall: Features: Performance: Design: Value:

Like it? A lot?
" A little? Tell

| love this phone and | am use to us.
an HTC EVO 4G. Its a fast phone

The Nexus S 4G is a powerful,

lightweight and fast device that's

This phone is the BOMBI!!!! | can do If you own one of these we'd

incredibly easy to use....Read Iiore

Oldiesmann on September 26, 2012

everything | want. | can make it the
way | want it to fit me. The only
problem | had with it is that it got
run over by a car and even after

and the storage is amazing..except

like to hear what you think of it.

the internal USB. | highly
recommend this phone and take

advantage of all the app

iliti ! Re aU) Ty yf
that it still worked, awesome. | love capabiition)...riRis Mose
my phone. | can't wait until the next squeakywheel on March 28, 2012

one comes out. I'm a Nexus fan.

Flavort on March 28, 2012

Android 4.1
Explained

The latest version of the Android
platform, Jelly Bean, is fast,
smooth and loaded with great

a
new features. e+

The Nexus S 4G: The World at 4G
Speed

Tips & Tricks: How
to Transfer Media

Want to access content from your
computer on your Android phone?
Here are four ways you can easily
transfer your favorite files.

Finger Paint Wallpaper ©NFC Explained Samsung Upgrade

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Accessories see ai

Tiles
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Desktop Dock & Wall Vehicle Navigation Mount
Charger ECS-V1A3BEGSTA System
ECR-D1A3BEGSTA ET-CGPK992GSTA

Nexus S GT-I9020T Spare TecTile Programmable
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ETC-TT1G6NGSTA

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media channels. Communicate, connect & share!

Features and specifications are subject to change without prior notification

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